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CRIMINAL COMPLAINT
. . . DISTRICT of ARIZONA
United States District Court °
United States of America _ DOCKET NO.
v. )
Silvio Bertilio Cruz-Velasquez =
YOB: 1992; Citizen of Honduras "100444 { M J

 

Complaint for violation of Title 8, United States Code Sections 1326(a) and (b)(1)

 

COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:

On or about May 25, 2019, at or near Three Points, in the District of Arizona, Silvio Bertilio Cruz-Velasquez, an
alien, entered, and was found in the United States of America after having been denied admission, excluded, deported,
and removed from the United States through Phoenix, Arizona on June 13, 2018, and without obtaining the express
consent of the Attorney General or the Secretary of the Department of Homeland Security to reapply for admission
thereto; in violation of Title 8, United States Section 1326(a), enhanced by Title 8, United States Code, Section
1326(b)(1), a felony.

 

BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:

Silvio Bertilio Cruz-Velasquez is a citizen of Honduras. On June 13, 2018, Silvio Bertilio Cruz-Velasquez was
lawfully denied admission, excluded, deported and removed from the United States through Phoenix, Arizona. On
May 25, 2019, agents found Silvio Bertilio Cruz-Velasquez in the United States at or near Three Points, Arizona,
without the proper immigration documents. Silvio Bertilio Cruz-Velasquez did not obtain the express consent of the
Attorney General or the Secretary of the Department of Homeland Security to re-apply for admission to the United
States.

 

MATERIAL WITNESSES IN RELATION TO THE CHARGE:

 

Lz
DETENTION REQUESTED SIGNAT MPLAINANT (official title)
Being duly sworn, I declare that the foregoing is

 

 

true and correct to the best of my kpe
y ORMIGAL TITLE

HHB/JJO
Border Patrol Agent

  
  

AUTHORIZED AUSA /s/Heather Sect

 

Sworn to before me and subscribed in my presence.

 

 

SIGNATURE OF MAGISTRATE JUDGE” DATE
May 28, 2019

 

 

1) See Federal rules of Criminal Procedure Rules 3 and 54

 
